Affirmed and Memorandum Opinion filed August 11, 2016.




                                    In The

                   Fourteenth Court of Appeals

                            NO. 14-15-00256-CR

                      ULESSIA PROCTER, Appellant

                                      V.
                     THE STATE OF TEXAS, Appellee

                  On Appeal from the 208th District Court
                          Harris County, Texas
                      Trial Court Cause No. 1372857

                MEMORANDUM                    OPINION


      Appellant Ulessia Proctor appeals her conviction for murder. Appellant’s
appointed counsel filed a brief in which he concludes the appeal is wholly
frivolous and without merit. The brief meets the requirement of Anders v.
California, 386 U.S. 738, 87 S.Ct. 1396 (1967), presenting a professional
evaluation of the record and demonstrating why there are no arguable grounds to
be advanced. See High v. State, 573 S.W.2d 807 (Tex. Crim. App. 1978).
      A copy of counsel’s brief was delivered to appellant. Appellant was advised
of the right to examine the appellate record and file a pro se response. See Stafford
v. State, 813 S.W.2d 503, 512 (Tex. Crim. App. 1991). At appellant’s request, the
record was provided to her. On May 6, 2016, appellant filed a pro se response to
counsel’s brief.

      We have carefully reviewed the record, counsel’s brief, and appellant’s
response, and agree the appeal is wholly frivolous and without merit. Further, we
find no reversible error in the record. A discussion of the brief would add nothing
to the jurisprudence of the state. We are not to address the merits of each claim
raised in an Anders brief or a pro se response when we have determined there are
no arguable grounds for review. See Bledsoe v. State, 178 S.W.3d 824, 827–28
(Tex. Crim. App. 2005).

      Accordingly, the judgment of the trial court is affirmed.



                                       PER CURIAM

Panel consists of Justices Busby, Donovan, and Wise.
Do Not Publish — TEX. R. APP. P. 47.2(b).




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